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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                   AIKEN DIVISION

Robert Gene Rega,                                )          C/A No. 1:19-259-JMC-PJG
                                                 )
                              Plaintiff,         )
                                                 )
       v.                                        )                    ORDER
                                                 )
Lorraine Rega,                                   )
                                                 )
                              Defendant.         )
                                                 )

PLAINTIFF’S MOTIONS TO STRIKE AND MORE DEFINITE STATEMENT:

        Plaintiff moves to strike a letter (ECF No. 19) and response to summary judgment (ECF
No. 90) filed by Defendant. (ECF Nos. 20, 98, 99.) Generally, Plaintiff’s motions are based on
Plaintiff’s beliefs that Defendant’s filings contain lies. However, Plaintiff’s disagreements with
Defendant’s assertions do not justify striking the documents. Therefore, Plaintiff’s motions to
strike are denied.

MOTIONS FOR ISSUANCE OF SUBPOENA:

        Plaintiff’s motion for the issuance of subpoena is denied because Plaintiff has failed to
specify in his request who he is seeking to subpoena, the purpose of the subpoenas, the information
he seeks pursuant to Federal Rule of Civil Procedure 45, and how the subpoenas relate to his case
in accordance with the practice of this district. (ECF No. 30.)

       Defendant seeks to subpoena Plaintiff’s prison disciplinary record. (ECF No. 35.) The
motion is denied because Defendant fails to explain how the evidence is relevant or likely to lead
to discoverable evidence in this case. Accordingly, Plaintiff’s motions for a protective order
regarding Defendant’s motion are terminated as moot. (ECF Nos. 37 & 47.)

MOTION FOR DEFAULT JUDGMENT:

       Plaintiff’s motion for default judgment is denied. (ECF No. 36.) A default has not be
entered in this case under FRCP 55, and contrary to Plaintiff’s assertion, Defendant has appeared,
answered, and otherwise defended this case. Consequently, a default judgment is not proper under
FRCP 55. Accordingly, Defendant’s motion to strike or set aside the default judgment is denied.
(ECF No. 41.)




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MOTIONS TO COMPEL DISCOVERY:

       Plaintiff moves to compel Defendant to produce documents—specifically, debit and credit
card receipts or bank statements for certain expenditures, shipping receipts, and retail receipts.
(ECF No. 38.) Plaintiff also moves to compel discovery of text messages. (ECF No. 79.) As
Defendant appears to have provided the requested documents with her motion for summary
judgment, (ECF No. 90-2 at 5, 28, 99, 221), the motions are denied as moot, as well as Plaintiff’s
motions to extend time for discovery. (ECF Nos. 49 & 74.)

DEFENDANT’S MOTIONS TO STRIKE:

       Defendant moves to “strike future lawsuits” by Plaintiff. (ECF No. 71.) This motion is
denied as the court does not possess that authority.

       Defendant moves to strike Plaintiff’s power of attorney over his mother. (ECF Nos. 73,
107.) The motions are denied as such matter are outside of the court’s jurisdiction.

TO THE CLERK OF COURT:

       The Clerk of Court is directed to terminate Plaintiff’s motion to exceed the page limits
because it is moot. (ECF No. 82.)

       IT IS SO ORDERED.


                                             __________________________________________
September 25, 2020                           Paige J. Gossett
Columbia, South Carolina                     UNITED STATES MAGISTRATE JUDGE

           Plaintiff’s attention is directed to the important warning on the next page.




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      IMPORTANT INFORMATION . . . PLEASE READ CAREFULLY

           WARNING TO PRO SE PARTY OR NONPARTY FILERS
       All documents that you file with the court will be available to the public on the internet
through PACER (Public Access to Court Electronic Records) and the court’s Electronic Case
Filing System. CERTAIN PERSONAL IDENTIFYING INFORMATION SHOULD NOT
BE INCLUDED IN OR SHOULD BE REMOVED FROM ALL DOCUMENTS BEFORE
YOU SUBMIT THE DOCUMENTS TO THE COURT FOR FILING.

         Federal Rule of Civil Procedure 5.2, provides for privacy protection of electronic or paper
filings made with the court. Rule 5.2 applies to all documents submitted for filing, including
pleadings, exhibits to pleadings, discovery responses, and any other document submitted by any
party or nonparty for filing. Unless otherwise ordered by the court, a party or nonparty filer should
not put certain types of an individual’s personal identifying information in documents submitted
for filing to any United States District Court. If it is necessary to file a document that already
contains personal identifying information, the personal identifying information should be
“blacked out” or redacted prior to submitting the document to the Clerk of Court for filing. A
person filing any document containing their own personal identifying information waives the
protection of Rule 5.2(a) by filing the information without redaction and not under seal.

1. Personal information protected by Rule 5.2(a):

       (a) Social Security and Taxpayer Identification Numbers. If an individual’s Social
       Security number or a taxpayer identification number must be included in a document, the
       filer may include only the last four digits of that number.
       (b) Names of Minor Children. If the involvement of a minor child must be mentioned,
       the filer may include only the initials of that child.
       (c) Dates of Birth. If an individual’s date of birth must be included in a document, the
       filer may include only the year of birth.
       (d) Financial Account Numbers. If financial account numbers are relevant, the filer may
       include only the last four digits of these numbers.

2. Protection of other sensitive personal information—such as driver’s license numbers and alien
registration numbers—may be sought under Rule 5.2(d) (Filings Made Under Seal) and (e)
(Protective Orders).




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